
893 So.2d 882 (2005)
Michael E. DAVENPORT and Theresa M. Davenport
v.
PRUDENTIAL PROPERTY &amp; CASUALTY INSURANCE CO. and Bellsouth Communications Corp.
No. 2004-C-2900.
Supreme Court of Louisiana.
February 4, 2005.
In re Davenport, Michael E. et al.; Davenport, Theresa M.;  Plaintiff(s); Applying for Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. F, No. 494,545; to the Court of Appeal, First Circuit, No. 2003 CA 2593.
Denied.
